
PER CURIAM.
The petition for writ of habeas corpus for belated appeal is granted. Petitioner shall be allowed a belated appeal from the order denying motion for correction of illegal sentence rendered on March 28, 2001, in Leon County case numbers 86-4086, 87-2840, 87-3162, 87-3202, 87-3247, 87-3317, and 88-1963.
Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
PADOVANO, LEWIS and POLSTON, JJ., concur.
